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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   ROBERT CERVANTES
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            No. 1:11-cr-00184 AWI-DOB
                                           )
12                 Plaintiff,              )           STIPULATION TO CONTINUE
                                           )           SENTENCING HEARING; ORDER
13     v.                                  )           THEREON
                                           )
14   ROBERT CERVANTES,                     )
                                           )            Date : September 9, 2013
15                 Defendant.              )            Time: 10:00 a.m.
     _____________________________________ )            Honorable Anthony W. Ishii
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, that the sentencing hearing in the above-referenced matter now scheduled for June 3, 2013, may
19   be continued to September 9, 2013, at 10:00 a.m.
20          This continuance is at the request of counsel for defendant. Counsel needs additional time to meet
21   with defendant who is currently housed at Lerdo. The requested continuance will conserve time and
22   resources for both counsel and the court. Assistant United States Attorney Kimberly Sanchez has no
23   objection to this request.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1          Because this is a sentencing hearing, no exclusion of time is necessary.
 2                                                       Respectfully submitted,
 3                                                       BENJAMIN B. WAGNER
                                                         United States Attorney
 4
 5   DATED: May 29, 2013                                 /s/ Kimberly A. Sanchez
                                                         KIMBERLY A. SANCHEZ
 6                                                       Assistant United States Attorney
                                                         Attorney for Plaintiff
 7
 8                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
 9
10   DATED: May 29, 2013                                 /s/ Francine Zepeda
                                                         FRANCINE ZEPEDA
11                                                       Assistant Federal Defender
                                                         Attorney for Defendant
12                                                       Robert Cervantes
13
14
15                                                  ORDER
16          IT IS SO ORDERED. The sentencing hearing in the above-captioned matter is hereby continued
17   to September 9, 2013, at 10:00 a.m.
18
19   IT IS SO ORDERED.
20
     Dated:    May 29, 2013
21   0m8i78                                           SENIOR DISTRICT JUDGE
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